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12                                UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA

14                                    SAN FRANCISCO DIVISION

15

16   IN RE: CATHODE RAY TUBE (CRT)                     Case No. 3:07-cv-05944-SC
     ANTITRUST LITIGATION                              MDL NO. 1917
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18                                                     INDIV. CASE NO.: 3:11-CV-06397-SC

19                                                     [PROPOSED] ORDER ON
     This Document Relates to:                         STIPULATION OF DISMISSAL
20
     Costco Wholesale Corp. v. Hitachi Ltd., et al.,
21   No. 11-cv-06397

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     [PROPOSED] ORDER ON STIPULATION OF DISMISSAL
     Case No. 3:07-cv-05944-SC; 3:11-CV-06397-SC
       Case 3:07-cv-05944-JST Document 2936 Filed 10/22/14 Page 2 of 2



 1           The Court, having considered the stipulation of the parties, and good cause appearing,

 2   orders as follows:

 3           1.       The action filed by Costco Wholesale Corporation is dismissed with prejudice as

 4   against Defendants Philips Electronics North America Corporation, Koninklijke Philips N.V.

 5   (f/n/a Koninklijke Philips Electronics N.V.), Philips Taiwan Limited (f/n/a Philips Electronics

 6   Industries (Taiwan) Ltd.) and Philips do Brasil, Ltda. (f/n/a Philips da Amazonia Industria

 7   Electronica Ltda.) pursuant to Federal Rule of Civil Procedure 41(a)(2).

 8           2.       Each party shall bear its own costs and attorneys’ fees.
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 9           IT IS SO ORDERED.                                    TES D      TC
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            October 22, 2014
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11   DATED: ______________________                  ___________________________________
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                                                    Honorable Samuel




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12                                                  United States District Judge

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     [PROPOSED] ORDER ON STIPULATION OF DISMISSAL
     Case No. 3:07-cv-05944-SC; 3:11-CV-06397-SC
